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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS

John Doe,                              )
                                       )
           Plaintiff                   )
      v.                               )       Case No. 18-cv-7429
                                       )
The University of Chicago and          )       Judge Virginia M. Kendall
Jane Roe,                              )
                                       )
           Defendants.                 )


                            MOTION TO REINSTATE

      Plaintiff John Doe, by and through his attorneys Crotty & Schiltz, LLC,

moves this court for an order reinstating his complaint against Defendants, the

University of Chicago and Jane Roe, or, in the alternative, move the deadline at

which time the dismissal of Doe’s complaint will convert to being with prejudice to

July 19, 2019. In support of his motion, John Doe state as follows:

      1.     On November 11, 2018 John Doe filed a complaint against the

University of Chicago and Jane Roe asserting a number of claims.

      2.     On July 2, 2019 this Court entered the following order: “By agreement

of parties, this case is dismissed without prejudice and with leave to reinstate by

7/12/2019. If a motion to reinstate is not filed by 7/12/2019, the dismissal shall

become final and will automatically convert to a dismissal with prejudice. Civil case

terminated.” (Dkt. #62).




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      3.     As of July 12, 2019 the parties have been unable to finalize the issues

recently addressed with this Court. The parties believe they will be able to resolve

the issues by July 19, 2019.

      4.     Counsel for the University of Chicago and Jane Roe respectively have

no objection to the granting of this motion.

      WHEREFORE, for the reasons stated above, John Doe asks this Court to

enter an order either reinstating his claim against the University of Chicago and

Jane Roe or, in the alternative, moving the deadline at which time the dismissal of

Doe’s complaint will convert to being with prejudice to July 19, 2019.

Dated: July 12, 2019                           Respectfully submitted,

                                               /s/ Sean B. Crotty
                                               One of Plaintiff’s Attorneys


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                           CERTIFICATE OF FILING

       I, Sean B. Crotty, an attorney, hereby certify that on July 12, 2019, I caused
the foregoing Motion to Reinstate to be electronically filed with the Clerk of the
United States District Court for the Northern District of Illinois, Eastern Division,
using the Court’s CM/ECF system.


                                                    /s/ Sean B. Crotty




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